Case 1:05-cv-01037-.]DT-STA DocumentS Filed 05/23/05 Page 10f3 Pagel@j

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UNITED STATES DISTRICT COURT }Y§}’€ \` \
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Janlce A Ham1lton “'@§q~.-/`@:~
1504 East Main street ""53!/ `
Savannah, Tennessee 383 72
Plaintiff,
05\/.:>'3 9
v Civil Action No.W-T

Jo Anne B. Bamhart
Commissioner of
Social Security,
Defendant.
ORDER

Wherefore, for good cause shown and it appearing to the court that PlaintiH`
requires extra time to prepare Plaintiff’s brief; because this is Plaintift"s first request for an
extension of time; and, because the United States Attorney representing the government in this
matter consents to the additional time requested,

It is, accordingly, ordered, adjudged, and decreed that Plaintift` is granted an

additional period of time, up to and including June 20, 2005, to file a brief in support of her

Distrinurt Judge M
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with Rule 58 end,’or,79 (a) FRCP on ' b `

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Case 1:05-cv-01037-.]DT-STA Document 8 Filed 05/23/05 Page 2 of 3 Page|D 5

 

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Jackson, TN 3830
901-424-1305

TN BPR # 006600

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Certificate of Service " -'~\
I certify that I have mailed a true and exact copy fo the foregoing Proposed;£))rder

to Joe B. Dycus, Assistant Uru`ted States Anome¥, 800 F ederal Offlce Building, 167 Nortli'_jdain
Street, Memphis, TN 38103, this the 20th d , x. '

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01037 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Joe A. Dycus

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P.O. Box 3338

Jackson7 TN 38303--333

Honorable J ames Todd
US DISTRICT COURT

